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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 Cuauhtemoc Hernandez,                         )
                                               )
                                Plaintiff,     )          Case No. 23-cv-16970
                                               )
                 v.                            )          Honorable Sunil R. Harjani
                                               )
 Thomas Dart, Sheriff of Cook County,          )
 and Cook County, Illinois                     )
                                               )
                                Defendants.    )

  DEFENDANTS’ UNOPPOSED SECOND MOTION FOR EXTENSION OF TIME TO
   FILE RESPONSE IN OPPOSITION TO MOTION FOR CLASS CERTIFICATION

       NOW COME Defendants COOK COUNTY SHERIFF THOMAS DART, and COOK

COUNTY, a body politic and corporate, by and through their attorneys, Jason E. DeVore and

Zachary G. Stillman, of DeVore Radunsky LLC, pursuant to Fed. R. Civ. P. 6(b), and for

Defendants’ Unopposed Motion for Extension of Time for their Response in Opposition to

Plaintiff’s Motion for Class Certification, and for Plaintiff’s Reply in Support of his Motion for

Class Certification, state as follows:

       1.      Counsels for all parties have been in communication regarding this Motion and there

               is no opposition to the requested extension.

       2.      Defendants’ Response in Opposition to Plaintiff’s Motion for Class Certification is

               presently due on September 23, 2024, with Plaintiff’s Reply in Support then being

               due by October 4, 2024. ECF No. 45.

       3.      On August 14, 2024, Plaintiff filed their Motion for Class Certification with the

               Court. ECF No. 42.

       4.      Thereafter, on August 15, 2024, Plaintiff issued extensive Requests to Admit to

               Defendants in this matter, containing 46 separate requests, which required

               substantial time to address, and are due in the coming week.
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5.     Additionally, Counsels for Defendants have been deposing detainee witnesses

       disclosed by Plaintiff’s Counsel since mid-August, with progress being hampered

       slightly by Counsels for Plaintiffs’ schedules in September. To date, six detainee

       witness depositions have occurred, with five additional proceedings planned to occur

       by Friday, September 20, 2024, including the deposition of Plaintiff Hernandez on

       September 19, 2024.

6.     In light of intervening deadlines in this case and others, as well as the proximity of

       the occurrence of relevant witness depositions (final proceeding occurring

       September 20, 2024) to the September 23, 2024, deadline for Defendants’ Response,

       Defendants are now seeking additional time for their Response, as well as for

       Plaintiff’s Reply.

7.     Plaintiffs do not oppose Defendants’ request for a three-week extension to all

       remaining briefing schedule dates relating to the Motion for Class Certification but

       requested that it be noted that any additional extensions of time would be objected

       to. Defendants have also agreed that absent extraordinary circumstances, this will be

       their final request for an extension related to this briefing.

8.     Accordingly, the Defendants request a 21 (twenty-one) day extension to each

       deadline, making Defendants’ Response due by October 14, 2024, and Plaintiff’s

       Reply due by October 25, 2024.

9.     Under Rule 6(b), this Court may, for good cause, extend the time “[w]hen an act may

       or must be done.” Fed. R. Civ. P. 6(b).

10.    Not granting an extension of time would prejudice the parties because the current

       deadline will not allow sufficient time to properly prepare and submit their briefs in

       light of the ongoing depositions. The extension will also grant Defendants the

       necessary time to complete the needed witness depositions, including that of the

       Plaintiff, Cuauhtemoc Hernandez.
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       11.      Granting an extension of time will not prejudice any party and this motion is not

                brought for undue delay or any improper purpose.

       WHEREFORE, Defendants respectfully request that this Honorable Court enter an order as

follows:

       1. The Unopposed Motion for Extension of Time is granted;

       2. Defendants’ Response in Opposition to Plaintiffs’ Motion for Class Certification shall

             be filed on or before October 14, 2024;

       3. Plaintiffs’ Reply in Support of their Motion for Class Certification shall be filed on or

             before October 25, 2024; and

       4. Any other such relief as this court deems reasonable and just.

                                                              Respectfully Submitted,

                                                              Defendants

                                                       By:    /s/ Zacahry G. Stillman
                                                              Zachary G. Stillman, One of the
                                                              Attorneys for Defendants

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                                  CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that this Unopposed Motion for Extension of
Time was filed on September 16, 2024, with the Northern District of Illinois ECF System, serving
a copy to all parties.

                                                       /s/Zachary Stillman
                                                       Zachary Stillman
